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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


JOHNNIE BUTLER


v.                                      CIVIL ACTION NO. DAF-12-3468
                                        CRIMINAL NO. 1:08-00381-DAF-1

UNITED STATES OF AMERICA


                     MEMORANDUM OPINION AND ORDER

         Pending before the court is Butler’s pro se “Motion to

Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody,” pursuant to 28 U.S.C. § 2255.         (ECF 564).        This matter

was originally assigned to Judge Ellen Lipton Hollander.                By

Order entered October 15, 2014, Judge Hollander denied Butler’s

motion as to the majority of his claims but held certain claims

regarding plea negotiations (Claims 8 and 12) in abeyance.                 (ECF

597).   As to Claims 8 and 12, Judge Hollander sought to expand

the record and ordered the government to produce “any evidence it

may have regarding plea negotiations with Butler and/or his

counsel, and/or evidence pertaining to the government’s

contention that it would not offer a plea agreement to Butler

without a requirement of his cooperation.”          Id.       The government’s

response to that Order included an affidavit from the Honorable

George J. Hazel, a United States District Judge for the District

of Maryland and, therefore, one of Judge Hollander’s colleagues.

(ECF 611-1).    For this reason, Judge Hollander recused herself

from further consideration of the claims herein and the
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undersigned was assigned to Mr. Butler’s case.          Having now

reviewed the remaining grounds asserted by Mr. Butler, his motion

under § 2255 is DENIED.

                               Discussion

        Judge Hollander’s Memorandum Opinion of October 15, 2014

(ECF 596) provides a thorough account of the factual and

procedural background, as well as a discussion of the controlling

principles of law and standard of review.         For this reason, the

court has fully adopted her opinion herein.

        With respect to the claims for which Judge Hollander

determined expansion of the record was necessary, she noted:

               In Claim 8, Butler asserts that Saunders
        [his attorney] was constitutionally deficient
        because he failed to communicate to the
        government Butler’s willingness to accept a
        guilty plea on one of the four counts against
        him, so long as the deal would not involve
        cooperation. In his Memo, ECF 564-1 at 18-19,
        Butler said: “Movant apprised counsel that he
        could not cooperate . . . Yet counsel would not
        negotiate . . . a plea void of cooperation or a
        conditional plea. . . .” In Butler’s Affidavit,
        ECF 564-6, at paragraph eight, Butler said: “I
        told Saunders that I was not guilty of killing
        anyone and could not cooperate, but would
        possibly plead guilty to the drug charges.
        Attorney Saunder[s] stated that that was
        unacceptable even though he did not – to my
        knowledge – confer with the AUSA during our
        conversation[.]” And, in his Affidavit at
        paragraph five, in response to Saunder’s advice
        that Butler should cooperate, Butler said: “I
        became frustrated and upset with counsel for
        going against my specific wishes and trying to
        have me be an informant.” Butler further asserts
        that he suffered prejudice, stating: “Had counsel
        properly advised movant of his plea options at

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    the plea bargaining phase, and attacked the
    prosecutorial misconduct in . . .the contentions
    . . . stated [in the Memo] . . . there [is] no
    way movant would have pled not guilty and
    insisted on a trial.” Memo at 20.

           In Claim 12, Butler argues: “Had counsel
    provided the Movant with adequate and competent
    legal advice [regarding the application of the
    federal Sentencing Guidelines], the Movant would
    have been amenable to plea negotiations resulting
    in his guilty plea and a sentence short of Life
    imprisonment without parole.” Memo at 34.
    Further, Butler complains that Saunders did not
    provide him with adequate information and advice
    so as to enable him to make an “intelligent and
    informed” decision whether to pursue plea
    negotiations. . . .” Id. (Emphasis in original.)

           Butler does not address whether different
    advice regarding the Guidelines would have
    changed his mind about whether to cooperate. See
    Butler Aff. ¶ 8 (stating he would not cooperate).
    Indeed, as set forth above, he has stated
    unequivocally that he would not cooperate.

           Claims 8 and 12 fail if it is true that
    the government would not offer a plea for less
    than life unless Butler agreed to cooperate.
    Butler has said he would only “have been
    amenable” to a plea “resulting in . . . a
    sentence short of Life . . . .” Memo at 34.
    And, he states in his sworn Affidavit that he
    “told Saunders” that he “could not cooperate.”
    Butler Aff. ¶ 8. Taking Butler at his word, his
    assertions plainly demonstrate that he was not
    amenable to a plea if it included any form of
    cooperation with the government.

           In his Affidavit, ECF 575-8, Saunders
    states that “the government made it clear and Mr.
    Butler was so advised that nothing less than a
    life imprisonment plea was possible without
    cooperation. And as Mr. Butler sets out,
    cooperation was not something he was willing to
    consider.” Saunders Aff. at 1. Saunders also
    avers, id:


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            I should also note that during the
            pendency of this case Mr. Butler
            became a suspect in a
            kidnapping/torture/rape murder in
            the state of Maryland (he was
            subsequently convicted) which also
            contributed to the government’s
            adamant position regarding any
            plea. Therefore counsel had no
            room to negotiate any plea bargain
            absent cooperation. Not
            incidentally Mr. Butler asserted he
            was innocent of the drug conspiracy
            as well.

           Saunders included in his Affidavit pages
    of his own notes. E.g., id. at 2. One of these
    images shows handwritten notes as follows: Δ not
    interested in plea disc. Δ adamant that he did
    not do murder; no way to deal w/ Gov, w/
    [unintelligible] admit [unintelligible].” Id.
    Presumably, this states that “defendant was not
    interested in a plea discussion,” and “defendant
    was adamant that he did not do [the] murder;
    [there is] no way to deal with government without
    [defendant’s being willing to] admit that [he
    committed the alleged murder.]”

           The government argues that, in any case,
    Butler has failed to show prejudice. In its
    Opposition at 13 n.2, ECF 575, the government
    notes that Butler does not state, unequivocally,
    that he would have pleaded guilty if the
    government offered a deal that did not involve
    cooperation. See also Memo at 20. Thus, it
    argues, “the defendant does not even appear to be
    claiming that he would have pleaded guilty to the
    indictment had his counsel been effective.”
    Opposition at 13, n.2. Moreover, it claims that
    Butler would not plead if he had to cooperate,
    and the government was unwilling to negotiate a
    plea agreement without cooperation. Opposition
    at 20. “Thus,” it concludes, “the defendant may
    or may not wish now that he had pursued a plea,
    but the Government seemed disinclined to enter
    into any such agreement.” Id. (emphasis added).



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           As I see it, Butler and Saunders have
    submitted contradictory sworn statements as to
    whether Saunders sought a plea deal for Butler
    that did not include cooperation. Butler
    complains that Saunders never approached the
    government regarding a plea deal void of
    cooperation. E.g., Butler Aff. ¶ 8. Saunders
    seems to say that he did, and that the government
    would agree to nothing less than life
    imprisonment without cooperation. ECF 575-8,
    Saunders Aff. at 1 (“[T]he government made it
    clear and Mr. Butler was so advised that nothing
    less than a life imprisonment plea was possible
    without cooperation.”). This dispute concerns a
    material fact, because Butler asserts that his
    decision-making would have been different if a
    plea deal without cooperation were possible, and
    that he did not know if it were possible because
    of counsel’s performance. ECF 564-1 at 23; ECF
    575 at 20; see also Lafler, 132 S. Ct. at 1384.
    Thus, it appears that, with regard to Butler’s
    Sixth Amendment claim, Butler presents “disputed
    material facts and a credibility determination is
    necessary to resolve the issue.” Robertson, 219
    F. App’x. at 286.

           Moreover, the government has merely
    asserted in its Memo that it insisted on
    cooperation. See, e.g., Opposition at 20. The
    government states: “Mr. Saunders’ affidavit
    indicates that he spoke to the Government about a
    possible plea deal, but that the Government was
    adamant that a plea agreement include
    cooperation.” Id. It adds: “Saunders further
    indicates that serious state charges were also
    pending, which made a plea deal particularly
    difficult.” Id. at 12. The government later
    asserts that it “seemed disinclined to enter into
    any such agreement.” Id. at 20 (emphasis added).
    In any event, it has not corroborated Saunders’s
    assertion with evidence.

           Noticeably absent is any affidavit or
    document from the government confirming that it
    refused to offer a plea deal to Butler void of
    cooperation, or that, without cooperation, it
    would only offer a plea to life imprisonment. If
    either circumstance were so, Butler could show no

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        prejudice resulting from Saunders’s efforts
        regarding Claims 8 or 12, whatever they entailed.
        But, in its Opposition, the government relies
        wholly on its own assertions and Saunders’s
        Affidavit to support its argument that “trial
        counsel was not ineffective in relation to plea
        bargaining.” ECF 575 at 11.

               The Court recognizes that the prosecutor
        now assigned to this case did not handle the
        pretrial or trial proceedings. However, there is
        no indication as to whether the government has
        searched its records as to this issue.

               As discussed above, § 2255 requires that a
        court hold a hearing whenever a material fact is
        in dispute and resolution hinges on a credibility
        determination. Raines, 423 F.2d at 430:
        Witherspoon, 231 F.3d at 926-27; Robertson, 219
        F. App’x. at 286. However, a hearing may be
        avoided if factual disputes can be resolved on
        the record alone. See Dyess, 730 F.3d at 359;
        Rule 4(b) of the § 2255 Rules. Toward that end,
        I may also seek to expand the record before
        deciding to hold a hearing. Pender, 514 F. App’x
        at 361; Rule 7(a) of the § 2255 Rules. I believe
        that, at this juncture, it is appropriate to
        attempt to expand the record.

               In light of the foregoing, the government
        is hereby ordered to produce, within 30 days from
        the date of the docketing of the Order
        accompanying this Opinion, any evidence it may
        have regarding plea negotiations or attesting to
        the government’s position on cooperation in
        Butler’s case. See Rule 7 of the § 2255 Rules.

ECF 596 at pp. 49-53.

        As noted above, in responding to Judge Hollander’s Order

to Produce, the government submitted the Declaration of George J.

Hazel dated January 14, 2015.      (ECF 611-1).     Judge Hazel formerly

served as an Assistant United States Attorney for the District of

Maryland from 2008 to 2010.      See id. at ¶ 1.      In that capacity,

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AUSA Hazel “served as the lead prosecutor in the prosecution of

Johnnie Butler and his co-conspirators. . . .”          Id. at ¶ 2.

Regarding his trial strategy and plea negotiations between the

government and Butler, Hazel stated:

               3. Mr. Butler was the head of a violent
        cocaine and heroin distribution organization
        operating in Baltimore City. In the course of
        the government’s investigation, it became clear
        that Mr. Butler was responsible for at least two
        murders, and that, as head of the drug
        distribution organization, he was by far the most
        culpable of any of the ten co-conspirators who
        were indicted in the Criminal Case. My
        prosecutorial strategy in the Criminal Case was
        to obtain the cooperation of lower-level members
        of the organization through plea agreements, and
        to use their truthful testimony against Mr.
        Butler and his second-in-command, Calvin Wright.
        Ultimately, all of Mr. Butler’s co-defendants
        except Mr. Wright agreed to plea guilty. Some of
        these codefendants testified against Mr. Butler
        and Mr. Wright at trial.

               4. Mr. Butler was represented in the
        Criminal Case by attorney Thomas J. Saunders. I
        recall having only one conversation with Mr.
        Saunders regarding the possibility that Mr.
        Butler might plead guilty. Mr. Saunders
        approached me and asked, in substance, if the
        government would be amenable to a plea offer for
        an agreed-upon term of incarceration. I do not
        remember the precise term of incarceration that
        Mr. Saunders proposed or if we discussed the
        possibility of cooperation, but I do know that I
        rejected it immediately because the figure he
        proposed was far too low given the seriousness of
        Mr. Butler’s conduct and the sentence that Mr.
        Butler would likely receive following trial.
        While I do not recall the exact date of this
        conversation with Mr. Saunders, I do know that it
        occurred sometime before August 2009, when the
        Grand Jury returned a superseding indictment that
        added to the Criminal Case, for the first time,


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        allegations related to the murder of Fernando
        Rodriguez by Mr. Butler.

               5. After the return of the superseding
        indictment in August 2009, I recall no further
        discussions with Mr. Saunders concerning a plea
        by Mr. Butler, nor any internal government
        discussions about the possibility that Mr. Butler
        would be offered a guilty plea agreement.

Id. at ¶¶ 3-5.    Significantly, Hazel also testified that “[a]s

the case progressed, I was not inclined to pursue a plea

agreement with Mr. Butler because of the seriousness of his

conduct and the strength of the evidence against him, and because

he was the kingpin of the violent criminal organization targeted

in the Criminal Case.        Furthermore, I can state categorically

that I would not have agreed to have the government enter into a

plea agreement with Mr. Butler absent either his cooperation or a

life sentence.”    Id. at ¶ 6 (emphasis added).

        A brief recitation of the principles of law governing

Butler’s claims related to plea negotiations bears mentioning at

this point.   First, the standards established by the United

States Supreme Court in determining whether a defendant was

denied his Sixth Amendment right to effective assistance of

counsel are set forth in Strickland v. Washington, 466 U.S. 668,

687 (1984).   Under Strickland, a plaintiff must show (1) that

counsel’s performance was so deficient that it fell below an

objective standard of reasonableness, and (2) that counsel’s

deficiency resulted in prejudice so as to render the results of


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the trial unreliable.        Id. at 687-91.   Counsel’s performance is

entitled to a presumption of reasonableness.            Id.

           Second, the Supreme Court has held that a defendant’s

Sixth Amendment right to counsel extends to the plea-bargaining

process.    Missouri v. Frye, 132 S. Ct. 1399, 1405 (2012).

However, the Court has also made clear that a defendant has “no

right to be offered a plea . . . nor a federal right that the

judge accept it.”    Lafler v. Cooper, 132 S. Ct. 1376, 1387 (2012)

(quoting Frye at 1410).

           Finally, “[a] plea offer actually extended is a wholly

different matter from a plea bargain a petitioner simply believes

his attorney could or should have obtained for him.”              Wessling v.

Kenney, No. 4:04cv3375, 2007 WL 1289945, *2 (D. Neb. Mar. 13,

2007).    Furthermore, “there is no constitutional right to plea

bargain; the prosecutor need not do so if he prefers to go to

trial.”    Weatherford v. Bursey, 429 U.S. 545, 561 (1977).

           It is undisputed that the government never made a plea

offer to Butler.    Therefore, it is likewise undisputed that

Butler’s counsel was not deficient in failing to communicate a

plea offer to him because none existed.          Distilled to its

essence, Butler’s claim is actually that his attorney should have

been more aggressive in negotiating a non-cooperation plea on his

behalf.    However, even if this were true, Butler cannot establish

that he suffered prejudice under Strickland because, as noted


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above, a criminal defendant has no right to a plea agreement of

any kind.   Furthermore, Butler’s utter inability to demonstrate

prejudice is established by AUSA Hazel’s declaration that the

government would never have entered into a plea agreement with

Butler absent his cooperation or a life sentence, terms that

Butler himself testified were nonnegotiable.         See ECF 596 at p.

(“Claims 8 and 12 fail if it is true that the government would

not offer a plea for less than life unless Butler agreed to

cooperate.”); see also Morrow v. United States, Civil No. PJM 06-

1801, 2007 WL 2225827, *3 (D. Md. July 30, 2007) (“However,

failure to pursue a plea bargain is not sufficient proof of

ineffective assistance of counsel where the record does not

indicate that the Government would have offered one.”).

        In discussing the uphill battle a movant faces in

demonstrating Strickland prejudice on facts similar to those

herein, one court noted:

        [E]ven if the petitioner’s trial counsel rendered
        ineffective assistance during the plea
        negotiations, the petitioner cannot establish
        that he suffered any actual prejudice. The
        petitioner had no entitlement to a plea agreement
        of any kind. “[T]here is no constitutional right
        to plea bargain; the prosecutor need not do so if
        he prefers to go to trial. It is a novel
        argument that constitutional rights are infringed
        by trying the defendant rather than accepting his
        plea of guilty.” Weatherford v. Bursey, 429 U.S.
        545, 561 (1977).

               In fact, it is pure speculation to suppose
        that under any circumstances the plea bargain the
        petitioner wanted would have materialized. . . .

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        [N]o plea bargain on the terms he wanted was ever
        offered. . . .

               Even in then remote event that the
        prosecutor might have offered the petitioner the
        kind of plea bargain he wanted, it is pure
        speculation to assume that the court would have
        approved the bargain. . . The kind of hindsight
        in which the petitioner engages to demonstrate
        prejudice is too speculative.

               Unlike the precedents cited by the
        petitioner, his own conviction did not result
        from a plea of guilty that he now regrets, or
        from rejection of a plea offer that he now wishes
        he had accepted. It is true that his attorney
        failed to obtain the plea bargain the petitioner
        would have liked. However, the prosecutor never
        had any obligation to offer such an agreement.
        Therefore, the absence of a desirable plea
        bargain cannot be traced directly to trial
        counsel’s performance.

Wessling v. Kenney, No. 4:04cv3375, 2007 WL 1289945, *3 (D. Neb.

Mar. 13, 2007).

        In summary, for the reasons stated above, Butler cannot

demonstrate Strickland prejudice in connection with his

attorney’s handling of plea negotiations.        No evidentiary

hearing is required.    Therefore, Butler’s motion under 28 U.S.C.

§ 2255 is DENIED in its entirety and the Clerk is directed to

remove the matter from the court’s docket.

        Additionally, the court has considered whether to grant a

certificate of appealability.     See 28 U.S.C. § 2253(c).         A

certificate will not be granted unless there is “a substantial

showing of the denial of a constitutional right.”           28 U.S.C. §

2253(c)(2).   The standard is satisfied only upon a showing that

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reasonable jurists would find that any assessment of the

constitutional claims by this court is debatable or wrong and

that any dispositive procedural ruling is likewise debatable.

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v.

McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676,

683-84 (4th Cir. 2001).     The court concludes that the governing

standard is not satisfied in this instance.            Accordingly, the

court DENIES a certificate of appealability.

        The Clerk is directed to send copies of this Order to

counsel of record and unrepresented parties.

        IT IS SO ORDERED this 30th day of March, 2016.

                                        ENTER:



                                        David A. Faber
                                        Senior United States District Judge




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